Case 19-34054-sgj11             Doc 3946 Filed 10/19/23 Entered 10/19/23 20:01:08                         Desc
                                  Main Document     Page 1 of 13



                             UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

    In re:                                               §
                                                         §
    HIGHLAND CAPITAL                                     §    Chapter 11
    MANAGEMENT, L.P.                                     §
                                                         §    Case No. 19-34054-sgj11
              Reorganized Debtor.                        §

            APPELLANT HUNTER MOUNTAIN INVESTMENT TRUST’S
     STATEMENT OF THE ISSUES AND DESIGNATION OF ITEMS FOR INCLUSION
                        IN THE APPELLATE RECORD

             COMES NOW Appellant/Movant Hunter Mountain Investment Trust, both in its

individual capacity and derivatively on behalf of the Reorganized Debtor, Highland Capital

Management, L.P., and the Highland Claimant Trust, 1 (collectively, “Appellant” or “HMIT”), and

files this Statement of the Issues and Designation of Items for Inclusion in the Appellate Record

pursuant to Federal Rule of Bankruptcy Procedure 8009(a)(1):

                                               I.
                                     STATEMENT OF THE ISSUES

A.           Did the bankruptcy court err in determining that the “colorable” claim analysis allowed the
             court to consider evidence and other non-pleading materials including, but not limited to,
             the court’s reasoning that:

                1. the colorability analysis is stricter than a non-evidentiary, Rule 12(b)(6)-type
                   analysis;

                2. the colorability analysis is “akin to the standards applied under the … Barton
                   doctrine”;

                3. the colorability analysis requires a “hybrid” of the Barton doctrine and “what courts
                   have applied when considering motions to file suit when a vexatious litigant bar
                   order is in place”; and/or,



1
 And in all capacities and alternative derivative capacities asserted in HMIT’s Emergency Motion for Leave to File
Verified Adversary Proceeding [Dkt. Nos. 3699, 3815, and 3816] (“Emergency Motion”), the supplement to the
Emergency Motion [Dkt. No. 3760], and the draft Complaint attached to the same [Dkt. No. 3760-1].

Appellant/Movant HMIT’s Statement of Issues and
Designation of Items for Inclusion in the Appellate Record                                                Page 1
Case 19-34054-sgj11           Doc 3946 Filed 10/19/23 Entered 10/19/23 20:01:08               Desc
                                Main Document     Page 2 of 13



            4. “[t]here may be mixed questions of fact and law implicated by the Motion for
               Leave”?

        [See Dkt. Nos. 3781, 3790, 3903-04].

B.      Did the bankruptcy court err in determining that Appellant lacked constitutional or
        prudential standing to bring its claims in its individual and derivative capacities?

        [See Dkt. Nos. 3903-04].

C.      Did the bankruptcy court err in alternatively determining that, even under a non-
        evidentiary, Rule 12(b)(6)-type analysis, Appellant did not assert colorable claims
        including, but not limited to, determining that:

            1. Appellant’s allegations are conclusory, speculative, or constitute “legal
               conclusions”;

            2. Appellant’s claims or allegations are not “plausible”;

            3. Appellant’s allegations pertaining to a quid pro quo are “pure speculation”;

            4. Proposed Defendant James P. Seery (“Seery”) owed no duty to Appellant in any
               capacity as a matter of law;

            5. Appellant failed “to allege facts in the Proposed Complaint that would support a
               reasonable inference that Seery breached his fiduciary duty to HMIT or the estate
               as a result of bad faith, self-interest, or other intentional misconduct rising to the
               level of a breach of the duty of loyalty”;

            6. Appellant’s allegations pertaining to its aiding and abetting and conspiracy claims
               are speculative and not plausible;

            7. The remedies of equitable disallowance and equitable subordination are not
               remedies “available” to Appellant as a matter of law;

            8. Appellant’s unjust enrichment claim is invalid as a matter of law because “Seery’s
               compensation is governed by express agreements”;

            9. Appellant is not entitled to declaratory relief because it has no colorable claims;
               and/or

            10. Appellant cannot recover punitive damages for its breach of fiduciary duty claim?

        [See Dkt. Nos. 3903-04].

D.      Alternatively, even if the bankruptcy court correctly determined that its “hybrid” Barton
        analysis controls, did the court violate Appellant’s due process rights by denying Appellant
        its requested discovery?

Appellant/Movant HMIT’s Statement of Issues and
Designation of Items for Inclusion in the Appellate Record                                    Page 2
Case 19-34054-sgj11           Doc 3946 Filed 10/19/23 Entered 10/19/23 20:01:08                 Desc
                                Main Document     Page 3 of 13




        [See Dkt. Nos. 3800, 3853, 3903-04, June 8, 2023 Hearing].

E.      Alternatively, did the bankruptcy court err by denying Appellant’s requested discovery
        including, but not limited to:

            1. ordering that Appellant could not request or obtain any discovery other than a
               deposition of Seery and James D. Dondero; and/or

            2. determining that state court “Rule 202” proceedings supported the denial of
               discovery?

        [See Dkt. Nos. 3800 & June 8, 2023 Hearing; see also Dkt. Nos. 3903-04].

F.      Alternatively, did the bankruptcy court err by denying Appellant’s alternative request for
        a continuance to obtain the requested discovery?

G.      Alternatively, did the bankruptcy court err by excluding Appellant’s evidence, or admitting
        the same for only limited purposes, offered at the June 8, 2023 Hearing?

H.      Alternatively, did the bankruptcy court err by overruling Appellant’s objections to
        Appellees’ evidence offered at the June 8, 2023 Hearing?

I.      Alternatively, did the bankruptcy court err by excluding Appellant’s experts’ testimony?

        [See Dkt. No. 3853; see also Dkt. Nos. 3903-04].

J.      Alternatively, did the bankruptcy court err by striking Appellant’s proffer of its excluded
        experts’ testimony from the record?

        [See Dkt. No. 3869].

K.      Alternatively, if the bankruptcy court correctly determined that its “hybrid” Barton analysis
        controls, did the bankruptcy court err in determining that Appellant had not asserted
        colorable claims under that “hybrid” analysis including, but not limited to, its findings that:

            1. there is no evidence to support that Seery shared material non-public information
               with the Claims Purchasers;

            2. there is no evidence to support the alleged quid pro quo;

            3. the material shared was public information; and/or

            4. the Claims Purchasers had sufficient and lawful reasons to pay the amounts paid
               for the purchased claims.

        [See Dkt. Nos. 3903-04].

Appellant/Movant HMIT’s Statement of Issues and
Designation of Items for Inclusion in the Appellate Record                                      Page 3
Case 19-34054-sgj11           Doc 3946 Filed 10/19/23 Entered 10/19/23 20:01:08              Desc
                                Main Document     Page 4 of 13




L.       Did the bankruptcy court err in finding that Appellant is controlled by Dondero, and, as
         such, Appellant “cannot show that it is pursuing the Proposed Claims for a proper
         purpose”?

M.       Alternatively, does sufficient evidence support the bankruptcy court’s evidentiary findings
         made pursuant to its “hybrid” Barton analysis?

N.       Did the bankruptcy court err in denying an expedited hearing on Appellant’s Motion for
         Leave? [See Dkt. 3713].

O.       Does the bankruptcy court’s use of a new “colorability” standard to determine if claims by
         non-debtors against other non-debtors may proceed violate Stern v. Marshall and its
         progeny?

P.       Did the bankruptcy court err in denying Appellant’s Motion to Alter or Amend Order, to
         Amend or Make Additional Findings, for Relief from Order, or Alternatively, for New
         Trial under Federal Rules of Bankruptcy Procedure 7052, 9023, and 9024 including, but
         not limited to by:

            1. declining to consider disclosures that demonstrated that Appellant is “in the
               money”—an issue pertinent to the court’s erroneous standing decisions; and

            2. concluding that the disclosures failed to reinforce Appellant’s standing to pursue
               the claims presented?

         [Dkt. 3936].


                                           II.
                          DESIGNATION OF ITEMS FOR INCLUSION
                               IN THE APPELLATE RECORD

A.     Case No. 19-34054-sgj11: HMIT hereby designates the following items in the record
on appeal from Cause No. 19-34054-sgj11.

     FILE DATE             DOCKET NO.                             DESCRIPTION
                         (INCLUDING ALL
                        ATTACHMENTS AND
                          APPENDICES)
 01/22/2021        1808                            Fifth Amended Plan of Reorganization of
                                                   Highland Capital Management, L.P. (As
                                                   Modified)




Appellant/Movant HMIT’s Statement of Issues and
Designation of Items for Inclusion in the Appellate Record                                   Page 4
Case 19-34054-sgj11           Doc 3946 Filed 10/19/23 Entered 10/19/23 20:01:08                  Desc
                                Main Document     Page 5 of 13



 02/22/2021        1943                            Order (I) Confirming the Fifth Amended Plan of
                                                   Reorganization of Highland Capital Management,
                                                   L.P. (as Modified) and (II) Granting Related Relief

 09/09/2022        3503                            Motion to Conform Plan filed by Highland Capital
                                                   Management, L.P.

 02/27/203         3671                            Memorandum Opinion and Order on Reorganized
                                                   Debtor’s Motion to Conform Plan

 03/28/2023        3699                            HMIT Emergency Motion for Leave to File
                   (3699-1 — 3699-5)               Verified Adversary Proceeding and Attached
                                                   Verified Adversary Complaint

 03/28/2023        3700                            HMIT Motion for Expedited Hearing on
                   (3700-1)                        Emergency Motion for Leave to File Verified
                                                   Adversary Proceeding

 03/30/2023        3704                            Farallon, Stonehill, Jessup and Muck Objection to
                                                   Motion for Expedited Hearing

 03/30/2023        3705                            HMIT Amended Certificate of Conference

 03/30/2023        3706                            HMIT Amended Certificate of Conference

 03/30/2023        3707                            Highland’s Response in Opposition to Emergency
                                                   Motion for Leave

 03/30/2023        3708                            Declaration of John Morris in Support of the
                   (3708-1 — 3708-8)               Highland Parties’ Objection to Hunter Mountain
                                                   Investment Trust's Opposed Application for
                                                   Expedited Hearing on Emergency Motion for
                                                   Leave to File Verified Adversary Proceeding

 03/31/2023        3712                            HMIT Reply in Support of Application for
                                                   Expedited Hearing

 03/31/2023        3713                            Order Denying Motion for Expedited Hearing

 04/04/2023        3718                            HMIT Motion for Leave to File Appeal
                   (3718-1 — 3718-4)

 04/04/2023        3719                            HMIT Motion for Expedited Hearing on Motion
                   (3719-1)                        for Leave to File Appeal



Appellant/Movant HMIT’s Statement of Issues and
Designation of Items for Inclusion in the Appellate Record                                      Page 5
Case 19-34054-sgj11           Doc 3946 Filed 10/19/23 Entered 10/19/23 20:01:08                Desc
                                Main Document     Page 6 of 13



 04/05/2023        3720                            Order Denying HMIT’s Opposed Motion for
                                                   Expedited Hearing

 04/05/2023        3721                            HMIT Notice of Appeal
                   (3721-1 — 3721-2)

 04/06/2023        3726                            Certificate of Mailing regarding HMIT Notice of
                   (3726-1)                        Appeal

 04/07/2023        3731                            Notice of Docketing Transmittal of Notice of
                                                   Appeal

 04/13/2023        3738                            Highland’s Opposed Emergency Motion to
                   (3738-1)                        Modify and Fix a Briefing Schedule and Set a
                                                   Hearing Date with Respect to HMIT’s Emergency
                                                   Motion for Leave

 04/13/2023        3739                            Highland’s Motion for Expedited Hearing

 04/13/2023        3740                            Joinder to Highland’s Emergency Motion to
                                                   Modify and Fix Briefing Schedule and Set Hearing
                                                   Date With Respect to Hunter Mountain Investment
                                                   Trust’s Emergency Motion for Leave to File
                                                   Verified Adversary Proceeding filed by Farallon
                                                   Capital Management, LLC, Jessup Holdings LLC,
                                                   Muck Holdings LLC, Stonehill Capital
                                                   Management LLC

 04/13/2023        3741                            Notice of Hearing for 04/24/2023 at 1:30 PM

 04/13/2023        3742                            Amended Notice of Hearing for 04/24/2023 at
                                                   1:30 PM

 04/13/2023        3745                            Notice of Appearance and Request for Notice by
                                                   Omar Jesus Alaniz filed by James P. Seery Jr.

 04/15/2023        3747                            Joinder by James P. Seery Jr. to Highland’s
                                                   Emergency Motion to Modify and Fix Briefing
                                                   Schedule and Set Hearing Date with Respect to
                                                   Hunter Mountain Investment Trusts Emergency
                                                   Motion for Leave to File Verified Adversary
                                                   Proceeding

 04/17/2023        3748                            HMIT’s Response and Reservation of Rights

 04/19/2023        3751                            Notice of Status Conference

Appellant/Movant HMIT’s Statement of Issues and
Designation of Items for Inclusion in the Appellate Record                                    Page 6
Case 19-34054-sgj11             Doc 3946 Filed 10/19/23 Entered 10/19/23 20:01:08              Desc
                                  Main Document     Page 7 of 13



    04/21/2023       3758                          HMIT’s Objection Regarding Evidentiary Hearing
                                                   and Brief Concerning Gatekeeper Proceedings
                                                   Relating to “Colorability”

    04/21/2023       3759                          HMIT’s Notice of Rescheduling Hearing

    04/21/2023       3761                          HMIT’s Objection Regarding Evidentiary Hearing
                                                   and Brief Concerning Gatekeeper Proceedings
                                                   Relating to “Colorability” 2
    04/23/2023       3760                          HMIT’s Supplement to Emergency Motion for
                     (3760-1)                      Leave to File Verified Adversary Proceeding and
                                                   Attached Verified Adversary Complaint

    04/24/2023       3764                          Hearing held on 4/24/2023 re: HMIT’s Motion for
                                                   Leave to File Verified Adversary Proceeding

    04/25/2023       3765                          Transcript of Hearing held on 04/24/2023

    05/11/2023       3780                          Objection to Hunter Mountain Investment Trust’s
                                                   (i) Emergency Motion for Leave to File Verified
                                                   Adversary Proceeding; and (ii) Supplement to
                                                   Emergency Motion for Leave to File Verified
                                                   Adversary Proceeding filed by Farallon Capital
                                                   Management, LLC, Jessup Holdings LLC, Muck
                                                   Holdings LLC, Stonehill Capital Management
                                                   LLC

    05/11/2023       3781                          Order Fixing Briefing Scheduling and Hearing
                                                   Date with Respect to HMIT’s Emergency Motion
                                                   for Leave to File Verified Adversary Proceeding
                                                   as Supplemented

    05/11/2023       3783                          Highland and Seery’s Joint Response to HMIT’s
                                                   Emergency Motion for Leave

    05/11/2023       3784                          Declaration of John Morris in Support of Highland
                     (3784-1 — 3784-46)            Parties’ Joint Response


    05/18/2023       3785                          HMIT’s Reply in Support of Emergency Motion
                                                   for Leave to File Adversary Proceeding




2
    A duplicate of Doc 3758.

Appellant/Movant HMIT’s Statement of Issues and
Designation of Items for Inclusion in the Appellate Record                                    Page 7
Case 19-34054-sgj11           Doc 3946 Filed 10/19/23 Entered 10/19/23 20:01:08                Desc
                                Main Document     Page 8 of 13



 05/22/2023        3787                            Order Pertaining to the Hearing on Hunter
                                                   Mountain Investment Trust’s Motion for Leave to
                                                   File Adversary Proceeding [DE##3699 & 3760]

 05/24/2023        3788                            HMIT’s Emergency Motion for Expedited
                   (3788-1 — 3788-5)               Discovery or, Alternatively, for Continuance of
                                                   June 8, 2023 Hearing

 05/24/2023        3789                            HMIT’s Application for Expedited Hearing

 05/24/2023        3790                            Order Pertaining to the Hearing on Hunter
                                                   Mountain Investment Trust’s Motion for Leave to
                                                   File Adversary Proceeding [DE##3699 & 3760]

 05/25/2023        3791                            HMIT’s Emergency Motion for Expedited
                   (3791-1 — 3791-5)               Discovery or, Alternatively, for Continuance of
                                                   June 8, 2023 Hearing

 05/25/2023        3792                            Order Setting Expedited Hearing

 05/25/2023        3795                            Objection to Hunter Mountain Investment Trust’s
                                                   Emergency Motion for Expedited Discovery or,
                                                   Alternatively, for Continuance of June 8, 2023
                                                   Hearing filed by Farallon Capital Management,
                                                   LLC, Jessup Holdings LLC, Muck Holdings LLC,
                                                   Stonehill Capital Management LLC

 05/25/2023        3798                            Highland Parties’ Joint Response in Opposition to
                   (3798-1)                        HMIT’s Emergency Motion for Expedited
                                                   Discovery

 05/26/2023        3800                            Order Regarding Hunter Mountain Investment
                                                   Trust’s Emergency Motion for Expedited
                                                   Discovery or, Alternatively, for Continuance of
                                                   the June 8, 2023 Hearing

 05/26/2023        3825                            Hearing Held on 05/26/2023

 05/26/2023        3826                            Hearing Held on 05/26/2023

 05/26/2023        3827                            Hearing Held on 05/26/2023

 05/28/2023        3801                            Order Regarding Hunter Mountain Investment
                                                   Trust’s Emergency Motion for Expedited
                                                   Discovery or, Alternatively, for Continuance of
                                                   the June 8, 2023 Hearing

Appellant/Movant HMIT’s Statement of Issues and
Designation of Items for Inclusion in the Appellate Record                                    Page 8
Case 19-34054-sgj11           Doc 3946 Filed 10/19/23 Entered 10/19/23 20:01:08                Desc
                                Main Document     Page 9 of 13



 06/05/2023        3815                            Hunter Mountain Investment Trust’s Emergency
                   (3815-1)                        Motion for Leave to File Verified Adversary
                                                   Proceeding

 06/05/2023        3816                            Hunter Mountain Investment Trust’s Emergency
                   (3816-1)                        Motion for Leave to File Verified Adversary
                                                   Proceeding

 06/05/2023        3817                            Highland Parties’ Witness and Exhibit List with
                   (3817-1 — 3817-5)               Respect to Evidentiary Hearing on June 8, 2023

 06/05/2023        3818                            HMIT’s Witness and Exhibit List in Connection
                   (3818-1 — 3818-9)               with its Emergency Motion for Leave to File
                                                   Verified Adversary Proceeding, and Supplement

 06/07/2023        3820                            Highland Parties’ Joint Motion to Exclude
                                                   Testimony and Documents of Scott Van Meter and
                                                   Steve Pully

 06/07/2023        3821                            Declaration in Support of Highland Parties’ Joint
                   (3821-1 — 3821-3)               Motion to Exclude Testimony and Documents of
                                                   Scott Van Meter and Steve Pully

 06/07/2023        3822                            HMIT’s Unopposed Motion to File Exhibit Under
                   (3822-1)                        Seal [WITHDRAWN]

 06/07/2023        3823                            Joinder to Joint Motion to Exclude Testimony and
                                                   Documents of Scott Van Meter and Steve Pully
                                                   filed by Farallon Capital Management, LLC,
                                                   Jessup Holdings LLC, Muck Holdings LLC,
                                                   Stonehill Capital Management LLC

 06/07/2023        3824                            HMIT’s Objections to the Highland Parties’
                                                   Exhibit and Witness List

 06/08/2023        3828                            HMIT’s Response to Highland Claimant Trust and
                                                   James P. Seery, Jr.’s Joint Motion to Exclude
                                                   Testimony and Documents of Experts Scott Van
                                                   Meter and Steve Pully

 06/08/2023        3839                            Hearing held on 06/08/2023

 06/09/2023        3831                            Audio File. Court Date & Time [05/26/2023
                                                   12:53:45 PM]



Appellant/Movant HMIT’s Statement of Issues and
Designation of Items for Inclusion in the Appellate Record                                    Page 9
Case 19-34054-sgj11           Doc 3946 Filed 10/19/23 Entered 10/19/23 20:01:08                  Desc
                                Main Document    Page 10 of 13



 06/09/2023        3832                            Audio File. Court Date & Time [06/08/2023
                                                   02:01:09 PM].

 06/09/2023        3833                            Audio File. Court Date & Time [06/08/2023
                                                   02:02:00 PM].

 06/09/2023        3834                            Audio File. Court Date & Time [06/08/2023
                                                   02:02:56 PM].

 06/09/2023        3835                            Audio File. Court Date & Time [06/08/2023
                                                   02:03:54 PM].

 06/09/2023        3836                            Audio File. Court Date & Time [06/08/2023
                                                   02:04:32 PM].

 06/09/2023        3837                            Request for transcript regarding hearing held on
                                                   06/08/2023

 06/12/2023        3838                            Court admitted exhibits on hearing June 8, 2023

 06/12/2023        3841                            Highland Parties’ Reply in Further Support of their
                                                   Joint Motion to Exclude Testimony and
                                                   Documents of Scott Van Meter and Steve Pully

 06/12/2023        3842                            Claim Purchasers’ Joinder to Highland Capital
                   (3842-1)                        Management, L.P., Highland Claimant Trust, and
                                                   James P. Seery Jr.‘s Reply in Further Support of
                                                   Their Joint Motion to Exclude Testimony and
                                                   Documents of Scott Van Meter and Steve Pully
                                                   filed by Farallon Capital Management, LLC,
                                                   Jessup Holdings LLC, Muck Holdings LLC,
                                                   Stonehill Capital Management LLC

 06/13/2023        3843                            Transcript regarding Hearing Held 06/08/2023

 06/13/2023        3844                            Transcript regarding Hearing Held 05/26/2023

 06/13/2023        3845                            HMIT’s Request for Oral Hearing or,
                                                   Alternatively, a Schedule for Evidentiary Proffer

 06/13/2023        3846                            Response in Opposition to Hunter Mountain
                                                   Investment Trust's Request for Oral Argument or,
                                                   Alternatively, a Schedule for Evidentiary Proffer
                                                   filed by Debtor Highland Capital Management,
                                                   L.P., Other Professional Highland Claimant Trust,
                                                   Creditor James P. Seery Jr.

Appellant/Movant HMIT’s Statement of Issues and
Designation of Items for Inclusion in the Appellate Record                                     Page 10
Case 19-34054-sgj11             Doc 3946 Filed 10/19/23 Entered 10/19/23 20:01:08                           Desc
                                  Main Document    Page 11 of 13



    06/13/2023      3847                              HMIT’s Reply to the Highland Parties’ Response
                                                      to Request for Oral Hearing

    06/16/2023      3853                              Memorandum Opinion and Order Granting Joint
                                                      Motion to Exclude Expert Evidence

    06/16/2023      3854                              Memorandum Opinion and Order Granting Joint
                                                      Motion to Exclude Expert Evidence

    06/19/2023      3858                              Hunter Mountain Investment Trust’s Evidentiary
                    (3858-1 — 3858-2)                 Proffer Pursuant to Rule 103(a)(2) 3

    06/23/2023      3860                              The Highland Parties’ Objections to and Motion to
                                                      Strike Hunter Mountain Investment Trust’s
                                                      Purported Proffer

    06/23/2023      3861                              Claim Purchasers’ Joinder to the Highland Parties’
                                                      Objections and Motion to Strike Hunter Mountain
                                                      Investment Trust’s Purported Proffer

    07/05/2023      3869                              Order Striking HMIT’s Evidentiary Proffer
                                                      Pursuant to Rule 103(a)(2) and Limiting Briefing

    07/06/2023      3872                              Notice of Filing of the Current Balance Sheet of
                                                      the Highland Claimant Trust filed by Debtor
                                                      Highland Capital Management, L.P. and the
                                                      Highland Claimant Trust

    07/21/2023      3888                              Post-Confirmation Report for Highland Capital
                                                      Management, LP for the Quarter Ending June 30,
                                                      2023 filed by Highland Capital Management,
                                                      L.P.

    07/21/2023      3889                              Post-Confirmation Report for Highland Capital
                                                      Management, LP for the Quarter Ending June 30,
                                                      2023 filed by the Highland Claimant Trust

    08/17/2023      3901                              Withdrawal of HMIT's Unopposed Motion to File
                                                      Exhibit Under Seal filed by Creditor
                                                      Hunter Mountain Investment Trust




3
  HMIT understands that the Court struck this proffer in docket entry 3869. Because the proffer appears to remain on
the record and to avoid any argument that HMIT has failed its burden to designate the record, HMIT designates this
docket entry out of an abundance of caution.

Appellant/Movant HMIT’s Statement of Issues and
Designation of Items for Inclusion in the Appellate Record                                                 Page 11
Case 19-34054-sgj11           Doc 3946 Filed 10/19/23 Entered 10/19/23 20:01:08                 Desc
                                Main Document    Page 12 of 13



 08/25/2023        3903                            Memorandum Opinion and Order Pursuant to Plan
                                                   “Gatekeeper Provision” and Pre-Confirmation
                                                   “Gatekeeper Orders”: Denying Hunter Mountain
                                                   Investment Trust’s Emergency Motion for Leave
                                                   to File Verified Adversary Proceeding

 08/25/2023        3904                            Memorandum Opinion and Order Pursuant to Plan
                                                   “Gatekeeper Provision” and Pre-Confirmation
                                                   “Gatekeeper Orders”: Denying Hunter Mountain
                                                   Investment Trust’s Emergency Motion for Leave
                                                   to File Verified Adversary Proceeding

 09/08/2023        3905                            Motion to Alter or Amend Order, to Amend or
                   (3905-1 — 3905-6)               Make Additional Findings, for Relief
                                                   from Order, or, Alternatively, for New Trial Under
                                                   Federal Rules of Bankruptcy Procedure 7052,
                                                   9023, and 9024 and Incorporated Relief Filed by
                                                   Creditor Hunter Mountain Investment Trust

 09/08/2023        3906                            Notice of Appeal filed by HMIT
                   (3906-1 — 3906-8)

 09/11/2023        3907                            Clerk’s Correspondence regarding HMIT’s Notice
                                                   of Appeal

 09/12/2023        3908                            Amended Notice of Appeal filed by HMIT
                   (3908-1 — 3908-8)

 09/22/2023        3928                            Notice Regarding Appeal and Pending Post-
                                                   Judgment Motion filed by HMIT

 10/05/2023        3936                            Order Denying Motion of Hunter Mountain
                                                   Investment Trust Seeking Relief Pursuant to
                                                   Federal Rules of Bankruptcy Procedure 7052,
                                                   9023, and 9024

 10/19/2023        3945                            Second Amended Notice of Appeal filed by HMIT
                   (3945-1 — 3945-10)


B.      Exhibits.

        Further, the Parties submitted hearing exhibits. HMIT designates for inclusion in the record
for appeal all the hearing exhibits submitted to the Court, which were all electronically filed and
are in the Court’s record and are a part of this Appellate Record. (Docs. 3817 and 3818). The
following exhibits are submitted and included in the Court’s record:

Appellant/Movant HMIT’s Statement of Issues and
Designation of Items for Inclusion in the Appellate Record                                    Page 12
Case 19-34054-sgj11           Doc 3946 Filed 10/19/23 Entered 10/19/23 20:01:08             Desc
                                Main Document    Page 13 of 13



                                       HMIT Exhibits
  (Dkts. 3818, 3818-1, 3818-2, 3818-3, 3818-4, 3818-5. 3818-6, 3818-7, 3818-8, and 3818-9)

                                        HMIT Exhibits 1-4, 6-80

                                         HCM Exhibits
                       (Dkts. 3817, 3817-1, 3817-2, 3817-3, 3817-4, 3817-5)

                    HCM Exhibits 2-15, 25-34, 36, 38-42, 45-46, 51, 59-60, 100


Dated: October 19, 2023                                Respectfully Submitted,

                                                       PARSONS MCENTIRE MCCLEARY
                                                       PLLC

                                                       By: /s/ Sawnie. A. McEntire
                                                           Sawnie A. McEntire
                                                       Texas State Bar No. 13590100
                                                       smcentire@pmmlaw.com
                                                       1700 Pacific Avenue, Suite 4400
                                                       Dallas, Texas 75201
                                                       Telephone: (214) 237-4300
                                                       Facsimile: (214) 237-4340

                                                       Roger L. McCleary
                                                       Texas State Bar No. 13393700
                                                       rmccleary@pmmlaw.com
                                                       One Riverway, Suite 1800
                                                       Houston, Texas 77056
                                                       Telephone: (713) 960-7315
                                                       Facsimile: (713) 960-7347

                                                       Attorneys for Hunter Mountain Investment
                                                       Trust

                                   CERTIFICATE OF SERVICE

      A true and correct copy of the foregoing document was served via ECF notification on
October 19, 2023, on all parties receiving electronic notification.

                                                  /s/ Sawnie A. McEntire
                                                  Sawnie A. McEntire

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Appellant/Movant HMIT’s Statement of Issues and
Designation of Items for Inclusion in the Appellate Record                                 Page 13
